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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

Rockwell Capital Partners, et al.            )
                                             )
       Plaintiffs,                           )
                                             )
       v.                                    )
                                             )
CD International Enterprises, Inc., et al.   )
                                             )      Case No: 1:17-cv-1537
                                             )
       Defendants                            )


    MOTION TO VACATE ORDER OF DEFAULT AND DEFER DOCKETING OF
    ACCOMPANYING VERIFIED ANSWER TO AMENDED COMPLAINT UNTIL
  DISPOSITION OF RULE 12 MOTIONS OR THE FILING OF A LINE INDICATING
                  NO RULE 12 MOTIONS WILL BE FILED

       Defendant Yuejian James Wang (“Dr. Wang”), by and through undersigned counsel,

hereby files the instant motion pursuant to Federal Rule 55(c) and Local Rule 7(g). In support,

Dr. Wang hereby incorporates the accompanying Statement of Specific Points of Law and

Authority supporting the instant motion and all exhibits attached thereto. As further discussed

therein and in Dr. Wang’s Verified Answer, which is attached to the instant motion as “Exhibit

A”, the Court’s order of default dated April 8, 2019 (the “Default Order”) must be vacated because

(a) Dr. Wang had good cause for not responding to the Amended Complaint, as Plaintiffs failed to

properly serve Dr. Wang with process; (b) the Verified Answer establishes a meritorious defense

to Plaintiffs’ standing claim (Claim One) against Dr. Wang; and (c) Plaintiffs will suffer no

prejudice if the Default Order is vacated.

       WHEREFORE, for the reasons stated herein and through the incorporated papers, and for

good cause shown, Dr. Wang respectfully requests that this Court:

       A. Vacate the Default Order;
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      B. Dismiss this action against Dr. Wang because of ineffective service of process; or

      C. Alternatively, defer the docketing of the Verified Answer until Dr. Wang files a Rule

          12 motion or files a line stating he will not file a Rule 12 motion.



Dated: May 14, 2019

                                                     Respectfully submitted,

                                                     /s/ Gregory A. Dorsey
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                                                     Wang




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